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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.: Case No. 1:18-cv-02212-WJM-SKC

OPTIV SECURITY INC.,

                      Plaintiff,

v.

DEFY SECURITY, LLC, et al.,

                    Defendants.




                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Optiv Security Inc. and Defendants Defy Security, LLC, Justin Domachowski,

and Jeremy Gilbert, by and through their respective counsel of record, hereby stipulate under

Fed. R. Civ. P. 41(a)(1)(A)(ii) and agree to the dismissal of the above-captioned matter, with

prejudice, with each party to bear its or his own costs, expenses, and attorneys’ fees.




Dated:       April 24, 2019                   Respectfully submitted,

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                                                ATTORNEYS FOR DEFENDANTS


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
pleading was served by (        ) United States Mail, postage prepaid; ( _x ) ECF Notification
System; (____) E-mail; (____) Federal Express; and/or (____) Hand Delivery this 24th day of
April, 2019, to all counsel of record.



                                                     /s/ Robert J. Hingula




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